






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




OMAR SAENZ,


                            Appellant,


v.



THE STATE OF TEXAS,


                            Appellee.
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No. 08-07-00169-CR
	


Appeal from the


109th District Court 


of Winkler County, Texas 


(TC# 4511) 



MEMORANDUM  OPINION


	Pending before the Court is Appellant's motion to withdraw his notice of appeal pursuant
to Tex.R.App.P. 42.2(a).  Appellant has personally signed his request to withdraw his notice of
appeal, and has filed it prior to the appellate court's decision.  See Tex.R.App.P. 42.2(a). 
Further, a duplicate copy of Appellant's motion has been filed with this Court, and that copy has
been forwarded to the trial court clerk.  See Tex.R.App.P. 42.2(a).  Because Appellant has
established his compliance with Rule 42.2(a), we dismiss the appeal.


November 30, 2007

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


